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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 DARRELL SIGGERS, #176859,

                               Plaintiff,               Civil Action No. 07-12495
                                                        Honorable Marianne O. Battani
                v.                                      Magistrate Judge David R. Grand

 ELLEN M. CAMPBELL, et al.,

                         Defendants.
 __________________________________/

                  OPINION AND ORDER DENYING PLAINTIFF’S
             MOTIONS FOR CONTEMPT AND/OR SANCTIONS [145, 146, 147]

        Before the Court are pro se Plaintiff Darrell Siggers’ motions for contempt and/or

 sanctions against Defendant Ellen Campbell, her attorney, John Thurber, and witness Shane

 Jackson, filed on September 9, 2013 (Docs. #145, 146, 147).1 A response was filed to these

 motions on October 7, 2013, (Docs. #158), and Siggers filed a reply on October 17, 2013 (Doc.

 #160). An Order of Reference for General Case Management was entered on January 5, 2012,

 referring all pretrial matters to the undersigned pursuant to 28 U.S.C. §636(b). (Doc. #109).

        Generally, the Court will not hold a hearing on a motion in a civil case in which a party is

 in custody. See E.D. Mich. L.R. 7.1(f). Here, the Court finds that the facts and legal issues are

 adequately presented in the briefs and on the record and declines to order a hearing at this time.

        A.      Background

        This case’s substantial procedural history was described in the Court’s October 11, 2011,
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   Plaintiff filed three related motions on this date: a one-page “Motion to Show Cause Why
 Defendant Ellen Campbell, Defendant’s Attorney John Thurber, and Witness Shane Jackson
 Should not be Held in Contempt and/or Sanctioned” (Doc. #145); a three-page “Motion to Hold
 in Contempt Defendant Ellen Campbell, Defendant’s Attorney John Thurber, and Witness Shane
 Jackson” (Doc. #146); and a lengthy “Motion for Sanctions Against Defendant Ellen Campbell,
 Defendant’s Attorney John Thurber, and Witness Shane Jackson” (Doc. #147). Because these
 motions contain related allegations, they will be discussed together.
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 December 2, 2011, and January 10, 2012 opinions and orders (Docs. #97, 105, 110), as well as

 its June 13, 2012 and March 17, 2014 reports and recommendations (Docs. #123, 183).

 Additional facts relevant to the determination of the pending motions will be reiterated herein.

        Plaintiff Darrell Siggers is currently confined at Muskegon Correctional Facility in

 Muskegon, Michigan. On June 11, 2007, Siggers filed a pro se prisoner civil rights complaint

 against Defendants Patricia Caruso, Andrew Jackson, Ellen Campbell, and Norman Minton,

 alleging, in relevant part, First Amendment retaliation. (Doc. #1). On July 27, 2011, the Sixth

 Circuit issued an opinion affirming the district court’s dismissal of all claims against Caruso,

 Andrew Jackson, and Minton, but reversing the grant of summary judgment in favor of Campbell

 and remanding for further proceedings. See Siggers v. Campbell, 652 F.3d 681 (6th Cir. 2011).

 The Sixth Circuit found that Campbell’s summary judgment motion should not have been

 granted when Siggers had not yet received discovery materials he had requested that had

 “obvious relevance” to his claims against Campbell. Id. at 697 (internal citations omitted).

        After remand, the only remaining claim is Siggers’ First Amendment retaliation claim

 against Campbell, arising out of her rejection of his legal mail on September 12, 2006. The

 parties engaged in additional discovery after the Sixth Circuit’s decision and, on February 15,

 2012, Campbell filed a second motion for summary judgment. (Doc. #115). On June 12, 2012,

 this Court issued a report and recommendation, in which it recommended that Campbell’s

 motion be denied without prejudice.       (Doc. #123).    Specifically, the Court indicated that

 summary judgment was inappropriate with respect to the third element of Siggers’ First

 Amendment retaliation claim – namely, whether there was evidence of a causal connection

 between Siggers’ alleged protected activity and any adverse action he suffered – because Siggers

 still had not received responses to the discovery requests he had issued years earlier, and which



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 the Sixth Circuit had ordered be provided. (Id. at 8-10). The district court adopted the report

 and recommendation on September 14, 2012. (Doc. #129).

         On the same date this Court issued its report and recommendation on Campbell’s motion

 for summary judgment, it also issued an order granting in part Siggers’ motion for appointment

 of counsel. (Doc. #122). In that order, the Court specified that counsel would be appointed to

 represent Siggers for the limited purpose of assisting him in obtaining the discovery that had

 been requested (specifically, certain e-mails that he had requested but which had not been

 adequately searched for or produced by Campbell). (Id. at 17-18).

         Over the course of the following months, counsel for the parties worked through certain

 discovery-related issues. On July 11, 2013, this Court entered an order granting in part and

 denying in part a motion to compel discovery filed on Siggers’ behalf by his pro bono attorneys.

 (Doc. #144). In that order, Campbell was directed to conduct certain email searches and produce

 the resultant emails. (Id. at 2). In addition, the Court ruled that Siggers was entitled to take three

 depositions, but specified that he would have to do so himself, as counsel had been appointed for

 the sole purpose of obtaining electronic discovery, not assisting Siggers in “prosecuting the

 merits of his case.” (Id. at 3).

         On August 21, 2013, Siggers deposed Campbell for the second time in this action. At

 that deposition, Campbell produced – for the first time – an October 20, 2005 memo from

 Inspector Shane Jackson to Deputy Warden Scott Nobles (the “Jackson Memo”). (Doc. #147 at

 20). In the Jackson Memo, Jackson inserted Siggers’ name and prison identification number into

 a pre-printed form, requesting permission to open Siggers’ outgoing mail because of a belief that

 he “may be involved in illegal activities,” such as “the smuggling of contraband into the

 facility.” (Id.). Campbell testified that she had given this memo to her attorney for production to



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 Siggers, and she could not explain why he had not previously received it. (Doc. #180 at 56-58).

 Campbell’s attorney, John Thurber, indicated that the document had not been deliberately

 withheld, saying that it could have been a simple “copying error” that resulted in its omission

 from production. (Id. at 58-59).

        Two days later, on August 23, 2013, Siggers deposed Shane Jackson. Siggers asserts in

 his motion that the conduct of both Jackson and Attorney Thurber at this deposition warrants

 sanctions. (Doc. #147). Specifically, Siggers takes issue with Jackson’s “recalcitrant, vexatious,

 intimidating and evasive responses and non-responses” to his questions, saying that he was left

 with no choice but to abruptly terminate Jackson’s deposition. (Id. at 8-13). In addition, Siggers

 asserts that Attorney Thurber’s actions – in speaking out at these two depositions and in failing

 to advise Jackson that he should not talk to Campbell between their depositions – warrant the

 issuance of sanctions.

        B.      Analysis

                1.        The Applicable Legal Standard

        In his motions, Siggers seeks sanctions against Campbell, Jackson, and Attorney Thurber

 pursuant to FRCP 37(b)(2) for their alleged failure to comply with this Court’s prior orders

 directing the production of responsive documents and directing Campbell’s and Jackson’s

 attendance at depositions. (Doc. #147). Rule 37(b)(2) sets forth a wide array of sanctions that a

 court may impose for such failure, including an order prohibiting the disobedient party from

 introducing designated matters into evidence, an order striking pleadings, and an order holding

 the recalcitrant party in contempt.2 The Court has broad discretion to order one or more “just”


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   To justify a civil contempt finding, the movant must prove by clear and convincing evidence
 that the respondent “violated a definite and specific order of the court requiring him to perform
 or refrain from performing a particular act or acts with knowledge of the court’s order.” Glover
 v. Johnson, 934 F.2d 703, 707 (6th Cir. 1991) (quoting NLRB v. Cincinnati Bronze, Inc., 829
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 sanctions, as provided for in Rule 37; thus, it can tailor the imposition of sanctions to the facts of

 a particular case. See FRCP 37(b)(2); Regional Refuse Sys. v. Inland Reclamation Co., 842 F.2d

 150, 153 (6th Cir. 1988). Rule 37(b)(2)(C) further provides that, instead of or in addition to

 these sanctions, the court “must order the disobedient party, the attorney advising that party, or

 both to pay the reasonable expenses, including attorney’s fees, caused by the failure, unless the

 failure was substantially justified or other circumstances make an award of expenses unjust.”

                2.      Production of the Jackson Memo

        In Siggers’ motions, he seeks sanctions against Campbell and Attorney Thurber pursuant

 to FRCP 37(b)(2) for failing to produce the Jackson Memo prior to August 21, 2013. (Doc. #147

 at 3-6). Siggers is correct that both the Sixth Circuit and this Court have issued discovery orders

 requiring Campbell to produce all documents responsive to Siggers’ discovery requests (Docs.

 #84, 105, 144), and there is no dispute that the Jackson Memo was, in fact, responsive.

 However, Campbell asserts that her failure to produce this one-page memo prior to August of

 2013 was simply inadvertent. Specifically, Campbell and her attorney indicate that the Jackson

 Memo was contained in her file, which she turned over to her attorney for production to Siggers.

 (Doc. #180 at 56-58). They further explain:

                Counsel discussed this matter at length with Campbell. Counsel cannot
                locate the original set of documents that Campbell provided to him in
                November 2011. There was no reason for Campbell or her Counsel to
                withhold the October 20, 2005 memo since it has no relevance whatsoever
                to the remaining claim in this case. The only explanation that Counsel has
                is that it got missed in the copying process. Siggers accuses Campbell and
                her Counsel of sanctionable misconduct with absolutely no proof.

 (Doc. #158 at 5).

        The Court agrees that Siggers has not established that the failure to produce the Jackson

 Memo was anything other than inadvertent.             Although Siggers asserts that Campbell and

 F.2d 585, 590 (6th Cir. 1987)).
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 Attorney Thurber “chose to withhold [this document] for [] strategic reasons” (Doc. #160 at 5),

 Siggers has offered no proof that this was the case. And, Campbell’s and Thurber’s explanation

 for the document’s untimely production is not implausible. While the Court disagrees with

 Campbell’s assertion that the Jackson Memo “is totally irrelevant to this case” (Doc. #158 at 8),

 there is no evidence that Campbell and/or Attorney Thurber deliberately failed to produce this

 document or obey a court order. And, although Siggers claims he was severely prejudiced by

 Campbell’s failure to timely produce this document (Doc. #160 at 8), the Court cannot agree.

 Siggers was able to utilize the Jackson Memo in responding to Campbell’s motion for summary

 judgment, which this Court has recommended should be denied. (Doc. #183). For all of these

 reasons, the Court will not award sanctions, or find Campbell or Attorney Thurber in contempt,

 for their belated production of the Jackson Memo.

               3.      Attorney Thurber’s Alleged Actions

        Siggers also argues that the Court should award discovery sanctions against Attorney

 Thurber for (a) failing to “advise Jackson that it was improper to communicate with Campbell

 immediately prior to his deposition,” and (b) using an “unprofessional and demeaning tone and

 attitude” toward Siggers and speaking (other than to voice objections) during both Campbell’s

 and Jackson’s depositions. (Docs. #147, 160).

        As an initial matter, Attorney Thurber was not required to advise Jackson to refrain from

 communicating with Campbell prior to his deposition.        At Jackson’s deposition, Attorney

 Thurber voiced his belief that “witnesses can speak to one another” before and/or after their

 depositions, saying, “There’s no rule that prohibits that that I’m aware of.” (Doc. #180 at 73).

 The Court agrees. There is nothing in the Federal Rules of Civil Procedure that would prohibit

 two witnesses from speaking to each other, and the Court has not issued an order to the contrary.



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 While it certainly might be prudent for an attorney to advise his client not to speak to witnesses

 about the substance of their testimony prior to their depositions, this is only because the

 substance of such communications is generally discoverable. In other words, Siggers could –

 and, in fact, did – question Jackson regarding the contents of his and Campbell’s discussions.

 (Doc. #180 at 73-76). Thus, Attorney Thurber did not act inappropriately in failing to advise

 these witnesses that they were not permitted to speak with each other between their depositions.

        Siggers also asserts that Attorney Thurber “unlawfully disrupted his depositions” by

 failing inform Jackson that he was required to answer Siggers’ questions in “an appropriate

 manner” and by otherwise using a demeaning and unprofessional tone. (Doc. #147 at 15). In

 support of his argument that Attorney Thurber should be sanctioned for this conduct, Siggers

 relies on FRCP 30(c)(2), which provides, in part: “[a]n objection must be stated concisely in a

 nonargumentative and nonsuggestive manner. A person may instruct a deponent not to answer

 only when necessary to preserve a privilege, to enforce a limitation ordered by the court, or to

 present a motion under Rule 30(d)(3).”

        The Court has reviewed the entirety of both Campbell’s and Jackson’s August 2013

 depositions (Doc. #180) and is not persuaded that Attorney Thurber acted inappropriately. First,

 the Court notes that very early on in Jackson’s deposition, Siggers directed a specific factual

 question to Attorney Thurber, and Attorney Thurber, though not required to do so, answered

 him. (Doc. #180 at 71-72). Actively engaging Attorney Thurber in this manner belies Siggers’

 instant argument that he acted inappropriately during the deposition. Moreover, it appears that

 this aspect of Siggers’ motion is based on his misconception that because it is “his” deposition,

 Attorney Thurber was not permitted to question the witnesses or otherwise participate. This is

 not the case. See FRCP 30(c)(1) (“The examination and cross-examination of a deponent



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 proceed as they would at trial….”). And, although it is admittedly difficult to gauge “tone” and

 “attitude” from a deposition transcript, it certainly appears that Attorney Thurber maintained an

 appropriate degree of professionalism at all times. Thus, there simply is no basis to award

 sanctions for Attorney Thurber’s conduct during these depositions.

                4.      Shane Jackson’s Conduct During His Deposition

        Siggers also argues that Shane Jackson should be sanctioned for his “evasive and non-

 responsive” answers to deposition questions. (Doc. #147 at 8-13). Specifically, Siggers asserts

 that Jackson repeatedly answered questions with “I don’t know” or “I don’t remember” or

 “maybe” or “possibly.” (Id. at 10). The Court has read the entire transcript of Jackson’s

 deposition and agrees that it makes him appear less forthcoming than one would expect,

 particularly with respect to recent events and matters personal to himself.3 However, many of

 the events about which Siggers questioned Jackson took place almost a decade ago, and it is to

 be expected that Jackson’s memory would fade over such a lengthy period of time and that he

 might not remember the details of a single memo he issued in 2005, for example. Siggers offers

 no proof that any of Jackson’s testimony was untruthful; rather, it simply appears that Siggers

 was not satisfied with Jackson’s inability to recall precise details of incidents that occurred many

 years ago. That is not enough to merit the imposition of sanctions. To the extent Jackson

 professed an inability to recall more recent events or to expound on prior answers he had given,

 that may certainly be a matter the jury can consider when weighing his credibility, but it is not

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   For example, when asked about the “substance” of a conversation he had only two days prior
 with Campbell, Jackson initially testified “I do not recall.” (Doc. #180 at 73). He did, however,
 later testify that the conversation consisted of “[g]eneral pleasantries…things of that nature.”
 (Id. at 75). And, when asked whether he had ever been charged with any form of misconduct as
 an MDOC employee, Jackson testified, “I don’t recall.” (Id. at 82). Finally, after Jackson
 testified that mail room personnel could assist him in “various ways” with investigating a
 prisoner’s outgoing mail, Siggers asked him to “[g]ive me an example,” to which Jackson
 answered, “Can’t think of one.” (Id. at 84).
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 itself a ground for any relief at this juncture. Thus, the Court is not persuaded that Jackson

 should be sanctioned.

        C.      Conclusion

        For the reasons set forth above, Plaintiff’s motions for contempt and/or sanctions against

 Defendant Ellen Campbell, her attorney, John Thurber, and witness Shane Jackson (Docs. #145,

 146, 147) are DENIED.


 Dated: March 21, 2014                                s/ David R. Grand
                                                      DAVID R. GRAND
                                                      UNITED STATES MAGISTRATE JUDGE



                    NOTICE TO PARTIES REGARDING OBJECTIONS

        The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of

 fourteen (14) days from the date of receipt of a copy of this order within which to file objections

 for consideration by the district judge under 28 U.S. C. §636(b)(1).



                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of record
 and any unrepresented parties via the Court’s ECF System to their respective email or First Class
 U.S. mail addresses disclosed on the Notice of Electronic Filing on March 21, 2014.

                                                      s/Felicia M. Moses
                                                      FELICIA M. MOSES
                                                      Case Manager




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